              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                                 L.W.O.,

                                Appellant,

                                    v.

                          STATE OF FLORIDA,

                                 Appellee.


                            No. 2D2023-0876



                             August 23, 2024

Appeal from the Circuit Court for Manatee County; Susan Maulucci,
Judge.

Howard L. Dimmig, II, Public Defender, and Tosha Cohen, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Katherine Coombs
Cline, Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

     Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior publication.
